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                            LINITED STATESDISTRICT COURT
                            EASTERNDISTRICTOF LOUISIANA
                       -:---__---
MYSTMTTI.A   REID,
anindividual,                                      CASENO.:
             PlaintiS
                                                   Judge:


MAINSTREAMPROPERTIES,         LLC          :      Magistrate:
a LouisianaLimitedLiability Company,       :

             Defendant.
                                       ----x

                                       cOMPI,ATNT
      Plaintifr MYSIIETTLAREID,by andthroughherundersigned
                                                         counsel,herebyfilesthis
Complaint
        andsuesIVIAINSTREAM
                          PROPERTIES,
                                   LLC,aLouisiana
                                                LimitedLiabilityCompany,
for declaratory
              andinjunctivereliefl attorneys'fees,andcostsprusuantto the Americanswittt

Disabilities
           Ac! 42u.s.c. $ l2l Bl ets€Q.,and
                                          alleges:

                              JrrRrsrlrcTroN
                                           ANp.PARTTIS
l.    This is an rction for declaratoryandi4irurctivereliefpursuantto Title III of the Americans

                                                                      to asthe*ADA,). This
      With DisabilitiesAct,42 U.S.C.S f 218l etseq.(hereinafterreferred

      Courtis vestedwith originaljwisdiction pusuantto 28 U.S.C.SSl33l and 1343.

2.    venueisproper
                  in thiscourtprnsuant
                                    to2Eu.s.c. $1391(b).
3.    Plaintifi MYSHETTLAREID, (tpreinafterrefenedto asuMS.REID' oT"PLAINTIFF,), is

      a residentof OrleansParish,Louisiana.
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 4'     MS' REID is a qualifiedindividualwith a disabilityundertheADA. MS.
                                                                           REID is a stroke

        victim.

5'     Dueto herdisability,PLAINTIFFis substantially
                                                   impairedin severalmajorlife activitiesand

       requiresa wheelchairfor mobility.

6-     Uponinformationandbelief Defendant
                                        MAINSTREAMPROPERTIES,
                                                            LLC is aLouisiana

       Limited Liability company currentlyregisteredto do businessin the State
                                                                              of Louisiana

       (hereinafter
                  refbrredto as "DEFENDANT"). DEFENDANTis the owner,lessee,lessor

       and/oroperatorof the realpropertiesandimprovements
                                                        which is the subjectof this action,

       to wit: FamilyDollar, generallylocatedat l18 S. BroadStreet,New Orleans,L|7lllg.

       TheDEFENDANT is obligatedto complywith the ADA.

7.     All eventsgiving rise to this lawsuitoccurredin the EasternDistrict of Louisiana,Orleans

       Parish,Louisiana.




                         AMERICANS WITH DISABILITIES ACT

8.     PLAINTIFFreallegesandreaversParagraphs
                                            I - 7 asif theywereexpresslyrestatedherein.

9.     The Propertyis a placeof public accommodation,
                                                   subjectto the ADA, generallylocated

       at:l l8 S.BroadStreet,New Orleans,
                                        LA 70119.

10.    MS. REID hasvisitedthe Properlynumeroustimesandplansto visit the Propertyagainin

       the nearfuture.

I 1.   During thesevisits, MS. REID experienced
                                              seriousdifficulty accessingthe goodsand

       utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed
                                                                            in paragraph14of
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       this Complaint.

t2.    MS. REID continuesto desireto visit the Property,but continuesto experience
                                                                                 serious
      difficulty dueto the barriersdiscussed
                                           in Paragraph14which still exist.

13.   MS' REID intendsto and will visit the Propertyto utilize the goodsand servicesin
                                                                                       the
      future,but fearsthat shewill encounterthe samebarriersto accesswhicharethesubjects
                                                                                       of
      this action.

14.   DEFENDANTis inviolationof 42U.S.C.$ 12181etseq.and28C.F.R. 36.302etseq.and
                                                               $
      is discriminatingagainstPLAINTIFF due to, but not limited to the following violations

      which PLAINTIFF personallyobservedanilor encountered
                                                         which hinderedher access:

             A.      Thereis no compliantaccessaislefrom the streetto the facility;

             B.      Therearerampsat thefacility thatdo not havelevel landingsand/orcontain

                     excessive
                             slopes;

             C.      lnaccessibledisabledparking designatedas accessibledue to improper

                     striping,signage,slope,location,spacewidthsandaccessaislewidths;

             E.      Insufficientclearfloor spacein front of the drinking fountain;
                     'Ihere
             D.            is no compliantroutefromtheaccessible
                                                               parkingspaces
                                                                           to thefacility;

                     and
                     'rhere
             E.            is no compliantdisabledrestroomsignage.

15.   Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others

      similarly situated,by failing to make reasonablemodificationsin policies,practicesor

      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opportunityto participatein, or benefitfrom, the goods,services,facilities,privileges,
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       advantages,
                andaccommodations
                                which DEFENDANToffersto the generalpublic;andby

       failingto takesucheffortsthatmaybenecessary
                                                to ensurethatno individualwith a disability

       is excluded,denied services,segregated,or otherwisetreated differently than other

       individuals becauseof the absenceof auxiliaryaidsandservices.

16.    To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor

       alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

       thoughremovalis readilyachievable.

17.    Removalof the discriminatorybarriersto accesslocatedon the Propertyis readily

       achievable,reasonablyfeasible,and easilyaccomplished,and would not placean undue

       burdenon DEIIENDANT.

19.    Removalof the barriersto accesslocatedon the Propertywould providepLAINTIFF an

       equalopportunityto participatein, or benefitfrom,thegoods,services,andaccommodations

      which DEFENDANT offersto the generalpublic.

20.   Independentof his intent to return as a patronto the Property,PLAINTIFF additionally

      intendsto refurnasan ADA testerto determinewhetherthe barriersto accessstatedherein

      havebeenremedied.

21.   PLAINTIFF has been obligatedto retain the undersignedcounsel for the filing and

      prosecutionof this action. PLAINTIFF is entitledto havehis reasonable
                                                                          attorneys'fees,

      costs,andexpenses
                      paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.

      WHEREFORE,PLAINTIFF demandsjudgmentagainstDEFENDANT,andrequeststhe

followinginjunctiveanddeclaratory
                                relief:

      A.     That this Court Declare that the Property owned, leasedand/or operatedby


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      DEFENDANTis in violationof the ADA

B.    Thatthis Courtenteran OrderdirectingDEFENDANTto alterthe facility to make

      it accessible
                  to anduseableby individualswith disabilitiesto thefull extentrequired

      by Title III of the ADA;

C.   Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

     policies,practices,andprocedures
                                    towardspersonswith disabilitiesfor a reasonable

     amountof time, allowingimplementation
                                         andcompletionof correctiveprocedures;

D.   Thatthis Court awardreasonable
                                  attorneys'fees,costs(includingexpertfees),and

     otherexpensesof suit,to pLAINTIFF; and

E.   That this Court awardsuchotherandfurtherrelief as it deemsnecessary,
                                                                       just and

     proper.

                                         RespectfullySubmitted,

                                         THE BIZER LAW FIRM
                                         Attorneysfor Plaintiff
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